           Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 1 of 25



       1 COLLINS & KHAN LLP
         MARC A. COLLINS (SBN 136769)
       2 AZIM KHANMOHAMED (SBN 277717)
         R. MICHAEL COLLUM (SBN 145105)
       3 3435 Wilshire Blvd., Ste. 2600
         Los Angeles, CA 90010-2246
       4 Telephone: 323.549.0700
         Facsimile: 323.549.0707
       5
         Attorneys for Defendant
       6 MARIN CITY SUBWAY, LLC
       7
                                     UNITED STATES DISTRICT COURT
       8
                                  NORTHERN DISTRICT OF CALIFORNIA
       9
      10 BRIAN WHITAKER, an individual,                           Case No. 4:21-cv-08767-KAW
      11            Plaintiff,                                    Assigned for All Purposes To:
                                                                  Hon. Kandis A. Westmore
      12    v.
      13                                                          DECLARATION OF AZIM
         MARIN CITY SUBWAY, LLC, a California                     KHANMOHAMED RE TERMS OF
      14 Limited Liability Company,                               SETTLEMENT PURSUANT TO
                                                                  RULE 68 OFFER OF JUDGMENT
      15
                   Defendant.
      16
      17
      18
      19
      20
      21                           DECLARATION OF AZIM KHANMOHAMED

      22         I, Azim Khanmohamed, declare:

      23    1. I am an attorney at law, duly licensed to practice before this Court, and am counsel of record

      24         for Defendant Marin City Subway, LLC.

      25    2. The facts stated herein are within my own knowledge and I would competently testify to the

      26         truth of these matters if called to do so.

      27    3. On February 25, 2022, my office tendered to counsel for Plaintiff a Rule 60 Offer of

      28         Judgment, a true and correct copy of which is attached hereto as Exhibit 1 (“Offer”).
,i~




                                                              1
                          DECLARATION OF AZIM KHANMOHAMED RE TERMS OF
                         SETTLEMENT PURSUANT TO RULE 68 OFFER OF JUDGMENT
             Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 2 of 25



       1          Pursuant to its terms, Defendant offered a “Judgment to be entered against it in this action
       2          in the amount of $2,000.00 in satisfaction of all claims for damages, together with all costs
       3          incurred in this action including reasonable attorney fees incurred in this action.”
       4      4. On March 4, 2022, my office received notice that Plaintiff had accepted Defendant’s Rule
       5          68 Offer from Plaintiff’s counsel, a true and correct copy of which is attached hereto as
       6          Exhibit 2. For confidentiality, I have not attached the draft Settlement Agreement and
       7          Stipulation for Dismissal that were attached to that March 4, 2022 email.
       8      5. On that same day, March 4, 2022, my office received another email from Plaintiff’s counsel,
       9          which had three attachments, including a Notice of Acceptance of Rule 68 Offer, the Rule
      10          68 Offer as Exhibit 1, and a Proof of Service. Attached hereto collectively as Exhibit 3 are
      11          true and correct copies of that particular March 4, 2022 email, and its three attachments.
      12      6. That same day, March 4, 2022, we received electronic notice from the Court Plaintiff filed
      13          with the Court a Notice of Settlement, Proposed Order, and a Proof of Service. I downloaded
      14          copies of these documents, and true and correct copies are attached hereto collectively as
      15          Exhibit 4.
      16      7. The Notice of Settlement incorrectly states that the Rule 68 Offer accepted by Defendant is
      17          only a “partial settlement” and that Plaintiff intends to file a motion for attorneys’ fees and
      18          costs. It is clear that Plaintiff that Plaintiff incorrectly stated the terms of the Rule 68 Offer.
      19      8. On March 7 and March 8, 2022, I emailed Plaintiff’s counsel to discuss this discrepancy, but
      20          as of today, I have not received a return email. True and correct copies of my March 7 and
      21          March 8, 2022 emails to counsel, are collectively attached hereto as Exhibit 5.
      22          I declare under penalty of perjury under the laws of the State of California that the foregoing
      23 is true and correct.
      24          Executed this 9th day of March 2022, at Los Angeles, California.
                                                       ~-
                                                ~




      25                                   ______________________________
      26                                        AZIM KHANMOHAMED
      27
      28
,IR




                                                              2
                           DECLARATION OF AZIM KHANMOHAMED RE TERMS OF
                          SETTLEMENT PURSUANT TO RULE 68 OFFER OF JUDGMENT
Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 3 of 25




                         EXHIBIT 1
                    Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 4 of 25

 Marc Collins

From:                                    Sabrina Saleh
Sent:                                    Friday, February 25, 2022 4:33 PM
To:                                      amandas@potterhandy.com
Cc:                                      Azim Khanmohamed; Marc Collins
Subject:                                 Whitaker v. Marin City Subway LLC - Rule 68 Offer
Attachments:                             Defendant's Rule 68 Offer.pdf



Counsel:

Please see attached.

Thanks,


Sabrina Saleh      I Legal Assistant




3435 Wilshire Blvd., Ste. 2600, Los Angeles, CA 90010
D: (323) 549-0700 I M: (323) 549-0700 I E: ssaleh@collinskhan.com

The information contained in this email may be confidential and/or !egal!y privileged. !t has been sent for the sole use of the
intended recipient(s). If the reader of this message is not an intended recipient, you are hereby notified that any un;iuthorized
review, use, disclosure, dissemination, distribution, or copying of this communication, or any of its contents, is strictly prohibited. If
you have received this communication in error, please reply to the sender and destroy all copies of the message.
     Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 5 of 25



 1 COLLINS & KHAN LLP
   MARC A. COLLINS (SBN 136769)
 2 AZIM KHANMOHAMED (SBN 277717)
   R. MICHAEL COLLUM (SBN 145105)
 3 3435 Wilshire Blvd., Ste. 2600
   Los Angeles, CA 90010-2246
 4 Telephone: 323.549.0700
   Facsimile: 323.549.0707
 5
   Attorneys for Defendant
 6 MARIN CITY SUBWAY, LLC
 7
                         UNITED STATES DISTRICT COURT
 8
                        NORTHERN DISTRICT OF CALIFORNIA
 9
10 BRIAN WHIT AKER, an individual,          Case No. 4:21-cv-08767-KAW

11         Plaintiff,                       Assigned for All Purposes To:
                                            Hon. Kandis A. Westmore
12    V.

13                                          RULE 68 OFFER OF JUDGMENT
   MARIN CITY SUBWAY, LLC, a California
14 Limited Liability Company,
15
           Defendant.
16
17
18
19
20
21
22
23
24
25
26
27
28

                                        1
                            RULE 68 OFFER OF JUDGMENT
          Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 6 of 25


     1        Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendant Marin City
     2 Subway, LLC hereby offers to allow Judgment to be entered against it in this action in the
 3 amount of $2,000.00 in satisfaction of all claims for damages, together with all costs incuned
 4 in this action including reasonable attorney fees incurred in this action. The barriers as
 5 alleged in the Complaint were remediated. Specifically, the outside dining surfaces were
 6 removed before thirty (30) days of being served with the Complaint and the Defendant is a
 7 small business that has employed 25 or fewer employees on average over the past three years
 8 and has average annual gross receipts ofless than three million five hundred thousand dollars
 9 ($3,500,000) over the previous three years. Therefore, Defendant's statutory liability should

10 be reduced pursuant to Cal. Civil Code§ 55.56, subd. (£)(2).This offer of judgment is made
11 for the purposes specified in Federal Rule of Civil Procedure 68, and is not to be construed
12 as either an admission that Defendant is liable in this action, or that Plaintiff, Brian Whitaker
13 has suffered any damage. This Offer of Judgment shall not be filed with the Court unless (a)
14 accepted or (b) in a proceeding to dete1mine costs.
15

16 Dated: Februaiy 25, 2022                     COLLINS & KHAN LLP
17                                       By:   Isl Azim Khanmohamed
18
                                               AZIM KHANMOHAMED
19                                             MARC A. COLLINS
                                               R. MICHAEL COLLUM
20
                                               Counsel for Defendant
21                                             MARIN CITY SUBWAY, LLC
22
23
24
25
26
27
28

                                                2
                                   RULE 68 OFFER OF JUDGMENT
            Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 7 of 25


     1
 2                                        PROOF OF SERVICE
                                  WHITAKER V. MARIN CITY SUBWAY, LLC
 3                                        4:21-cv-08767-KAW

 4         I, the undersigned, am over the age of eighteen years and am resident of Los Angeles County,
   California; I am not a party to the above-entitled action; my business address is 3435 Wilshire Blvd.,
 5
   Ste. 2600, Los Angeles, CA 90010.
 6
          On February 25, 2022 I served the following document(s):
 7
          Defendant's Rule 68 Offer:
 8
                 Addressed to:
 9

10        Amanda Seablock, Esq.                              Attorneys for Plaintiff
          Russell Handy, Esq.                                Tel: (858)375-7385
11        Potter Handy, LLP                                  Email: amandas(ci)potterhandy.com
          8033 Linda Vista Road, Suite 200
12        San Diego, CA 92111
13
14

15 _ _ BY MAIL: I caused such envelope with postage thereon fully prepaid to be placed in the
   United States mail at Los Angeles, California.
16
17 _ _ BY FACSIMILE: In addition to the service by mail as set forth above, I forwarded a copy
   of said documents via facsimile to the listed facsimile number.
18
   _ _ BY OVERNIGHT EXPRESS: I caused such envelope with postage thereon fully prepaid to
19 be placed in the Designated Overnight Express drop box in Los Angeles, California.
20        BY PERSONAL SERVICE: I caused said documents to be personally served on all listed
21 recipients Via ASAP Legal Services.

22            X       BY ELECTRONIC MAIL TRANSMISSION: via email. I caused the listed documents
         to be electronically filed and or subsequently emailed to the above recipients.
23
                Executed on February 25, 2022, from Los Angeles, California.
24
25               I declare under penalty of perjury under the laws of the State of California that the above is
         true and correct.
26
27                                                   Sabrina Saleh
28

                                                      3
                                         RULE 68 OFFER OF JUDGMENT
Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 8 of 25




                         EXHIBIT 2
                  Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 9 of 25

 Marc Collins

From:                               Varsha Hirdey <varshah@potterhandy.com >
Sent:                               Friday, March 4, 2022 6:24 AM
To:                                 Marc Collins
Cc:                                 WhitakervSubwayZ9998741@projects.filevine.com; Meridien Gipson; Leonardo
                                    Pahuriray; Azeriel Viojan
Subject:                            Whitaker v. Marin City Subway, LLC
Attachments:                        Conf Set K.docx; Joint Stipulation for Dismissal.doc




Dear Counsel:

Our client has accepted your client's offer of judgment in this matter and we look forward to finalizing the resolution of
the case.

Many defendants are alarmed when a judgment in entered against them in circumstances like these, so I am reaching
out to you to figure out how you wish to proceed. If your client would like to eliminate the public record of this
judgment, please find a draft copy (attached) of the Settlement Agreement and Joint Stipulation for Dismissal for your
review. If you have any revisions please feel free to redline the attached copy. I request you to send the revisions in MS
word format only.

If your client would prefer to proceed with a judgment, let us know and we will file the requisite documents with the
court. If you intend for us to pursue this course of action, we will expect payment within 10 days of entry of judgment or
we will be required to move to enforce it.

If you have any questions please feel free to contact our office. Thank you in advance for your professional courtesy and
attention in concluding this matter.

Sincerely,
Varsha




    Amanda Seabock, Esq.
    Am :mdaS ((i),PotterHandv. com

    Potter Handy, LLP
    8033 Linda Vista Rd, Suite 200
    San Diego, CA 92111
    858-375-7385 I 888-422-5191 (fax)

    505 S Friendswood Dnvc #3 U
    Friendswood, TX 77546
Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 10 of 25




                         EXHIBIT 3
                        Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 11 of 25

Marc Collins

From:                                               Robert Gipson < robertg@potterhandy.com >
Sent:                                               Friday, March 4, 2022 11 :19 AM
To:                                                 Marc Collins; Azim Khanmohamed
Cc:                                                 whitakervsubwayz9998741@projects.filevine.com
Subject:                                            Whitaker v. Marin City Subway, LLC (4:21-cv-8767-KAW)
Attachments:                                        Exhibit 1 (Defendants Rule 68 Offer).pdf; Notice of Acceptance.pdf; POS - Notice of
                                                    Acceptance.pdf



Hello,



Please find attached the documents from the attorney, please be advised a hard copy will follow via regular mail. Thank
you.



Best Regards,




       Robert Gipson, Assistant
       RobcrtG(ii).Potterilandy.corn

      Potter Handy, LLP
      8033 Linda Vista Rd, Suite 200
      San Diego, CA 92111
      858-375-7385 I 888-422-5191 (fax)


      The information contained in this email may be confidential and/or legally privileged. It has been sent for the sole use of the intended
      recipient(s). If the reader of this message is not an intended recipient, you are hereby notified that any unauthorized review, use, disclosure,
      dissemination, distribution, or copying of this communication, or any of its contents, is strictly prohibited. If you have received this
      communication in error, please reply to the sender and destroy all copies of the message. To contact us directly, send
      to info@potterhandy.com. Tax Opinion Disclaimer: To comply with IRS regulations, we advise that any discussion of Federal tax issues in
      this E-mail was not intended or written to be used, and cannot be used by you, (i) to avoid any penalties imposed under the Internal
      Revenue Code or, (ii) to promote, market or recommend to another party any transaction or matter addressed herein.
         Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 12 of 25



           CENTER FOR DISABILITY ACCESS
     I     Amanda Seabock, Esq., SBN 289900
 2         Prathima Price, Esq., SBN 3213 78
           Dennis Price, Esq., SBN 2 79082
 3         Mail: 8033 Linda Vista Road, Suite 200
           San Diego, CA 92111
 4         (858) 375-7385; (888) 422-5191 fax
           dennisp(@potterhandy.com
 5         Attorneys for Plaintiff BRIAN WHITAKER
 6
                             UNITED STATES DISTRICT COURT
 7
                            NORTHERN DISTRICT OF CALIFORNIA
 8
            Brian Whitaker                            Case No. 3:21-cv-8767-KAW
 9
                     Plaintiff,                       Notice of Acceptance of Offer of
10                                                    Judgment
              v.
II
            Marin City Subway, LLC, a
12          California Limited Liability
            Company
13

14                   Defend ants.
15

16
                   PLEASE TAKE NOTICE THAT Plaintiff accepts the FRCP Offer of
17
          Judgment served by Defendant Marin City Subway, LLC, a California
18
          Limited Liability Company. (Exhibit 1).
19

20
          Dated: March 2, 2022            CENTER FOR DISABILITY ACCESS
21

22                                          By: /s/ Dennis Price
                                                Dennis Price, Esq.
23
                                                Attorney for Plaintiff
24

25
26
27

28


                                               1
          Notice of Acceptance                     Case No. 3:21-cv-8767-KAW
Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 13 of 25




                        EXHIBIT l
     Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 14 of 25



 1 COLLINS & KHAN LLP
   MARC A. COLLINS (SBN 136769)
 2 AZIM KHANMOHAMED (SBN 277717)
   R. MICHAEL COLLUM (SBN 145105)
 3 3435 Wilshire Blvd., Ste. 2600
   Los Angeles, CA 90010-2246
 4 Telephone: 323.549.0700
   Facsimile: 323.549.0707
 5
   Attorneys for Defendant
 6 MARIN CITY SUBWAY, LLC
 7
                         UNITED STATES DISTRICT COURT
 8
                        NORTHERN DISTRICT OF CALIFORNIA
 9
10 BRIAN WHIT AKER, an individual,          Case No. 4:21-cv-08767-KAW

11         Plaintiff,                       Assigned for All Purposes To:
                                            Hon. Kandis A. Westmore
12    V.

13                                          RULE 68 OFFER OF JUDGMENT
   MARIN CITY SUBWAY, LLC, a California
14 Limited Liability Company,
15
           Defendant.
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         1
                            RULE 68 OFFER OF JUDGMENT
         Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 15 of 25


     1       Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendant Marin City
 2 Subway, LLC hereby offers to allow Judgment to be entered against it in this action in the

 3 amount of $2,000.00 in satisfaction of all claims for damages, together with all costs incuITed
 4 in this action including reasonable attorney fees incurred in this action. The barriers as
 5 alleged in the Complaint were remediated. Specifically, the outside dining surfaces were

 6 removed before thirty (30) days of being served with the Complaint and the Defendant is a

 7 small business that has employed 25 or fewer employees on average over the past three years
 8 and has average annual gross receipts ofless than three million five hundred thousand dollars

 9 ($3,500,000) over the previous three yem-s. Therefore, Defendant's statutory liability should

10 be reduced pursuant to Cal. Civil Code§ 55.56, subd. (f)(2).This offer of judgment is made
11 for the purposes specified in Federal Rule of Civil Procedure 68, and is not to be construed
12 as either an admission that Defendant is liable in this action, or that Plaintiff, Brian Whitaker

13 has suffered any damage. This Offer of Judgment shall not be filed with the Comt unless (a)
14 accepted or (b) in a proceeding to determine costs.
15

16 Dated: February 25, 2022                    COLLINS & KHAN LLP
17                                      By:    Isl Azim Khanmohamed
18
                                               AZIM KHANMOHAMED
19                                             MARC A. COLLINS
                                               R. MICHAEL COLLUM
20
                                               Counsel for Defendant
21                                             MARIN CITY SUBWAY, LLC

22
23

24
25
26

27
28

                                               2
                                  RULE 68 OFFER OF JUDGMENT
           Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 16 of 25


     1
 2                                        PROOF OF SERVICE
                                  WHITAKER V. MARIN CITY SUBWAY, LLC
 3                                        4:21-cv-08767-KAW

 4         I, the undersigned, am over the age of eighteen years and am resident of Los Angeles County,
   California; I am not a party to the above-entitled action; my business address is 3435 Wilshire Blvd.,
 5
   Ste. 2600, Los Angeles, CA 90010.
 6
           On February 25, 2022 I served the following document(s):
 7
          Defendant's Rule 68 Offer:
 8
                 Addressed to:
 9

10        Amanda Seablock, Esq.                              Attorneys for Plaintiff
          Russell Handy, Esq.                                Tel: (858)375-7385
11        Potter Handy, LLP                                  Email: amandas@potterhandy.com
          8033 Linda Vista Road, Suite 200
12        San Diego, CA 92111
13
14

15 _ _ BY MAIL: I caused such envelope with postage thereon fully prepaid to be placed in the
   United States mail at Los Angeles, California.
16
17 _ _ BY FACSIMILE: In addition to the service by mail as set forth above, I forwarded a copy
   of said documents via facsimile to the listed facsimile number.

   _ _ BY OVERNIGHT EXPRESS: I caused such envelope with postage thereon fully prepaid to
19 be placed in the Designated Overnight Express drop box in Los Angeles, California.
20
   _ _ BY PERSONAL SERVICE: I caused said documents to be personally served on all listed
21 recipients Via ASAP Legal Services.

22            X       BY ELECTRONIC MAIL TRANSMISSION: via email. I caused the listed documents
         to be electronically filed and or subsequently emailed to the above recipients.
23
                Executed on February 25, 2022, from Los Angeles, California.
24
25               I declare under penalty of perjury under the laws of the State of California that the above is
         true and correct.
26
27                                                   Sabrina Saleh
28

                                                      3
                                         RULE 68 OFFER OF JUDGMENT
         Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 17 of 25



                                     PROOF OF SERVICE
     Whitaker v. Marin City Subway, LLC (160 Donahue St, Marin City, CA
                                    94965)
                              3:21-cv-8767-KAW

  I, the undersigned, am over the age of eighteen years and am resident of Friendswood, Texas; I am not a
  party to the above-entitled action; My business address is 8033 Linda Vista Rd Suite 200 San Diego Ca
                                                   92111.

         On March 4, 2022 I served the following document(s):

         NOTICE OF ACCEPTANCE OF OFFER OF JUDGEMENT
         EXHIBIT 1


Addressed to:
 COLLINS & KHAN LLP
 MARC A. COLLINS (SBN 136769)
 AZIM KHANMOHAMED (SBN 277717)
 R. MICHAEL COLLUM (SBN 145105)
 3435 Wilshire Blvd., Ste. 2600
 Los Angeles, CA 90010-2246

         0       BY MAIL: I caused such envelope with postage thereon fully prepaid to be placed in the
                 United States mail at Friendswood, Texas.
        D        BY FACSIMILE: In addition to the service by mail as set forth above, I forwarded a
                 copy of said documents via facsimile to the listed facsimile number.
        D        BY OVERNIGHT EXPRESS: I caused such envelope with postage thereon fully prepaid
                 to be placed in the Designated Ovemite Express drop box in Friendswood, Texas.
        D        BY PERSONAL SERVICE: I caused said documents to be personally served on all listed
                 recipients Via ASAP Legal Services.
        D        BY ELECTRONIC MAIL TRANSMISSION: via email. I caused the listed documents to
                 be electronically filed and or subsequently emailed to the above recipients.


        Executed on March 4, 2022, from Friendswood, Texas.

I declare under penalty of perjury w1der the laws of the State of California that the above is true and
correct.
Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 18 of 25




                          EXHIBIT 4
           Case4:21-cv-08767-KAW
          Case  4:21-cv-08767-KAW Document
                                   Document16
                                            14 Filed
                                                Filed03/09/22
                                                      03/04/22 Page
                                                                Page191 of
                                                                        ot 25
                                                                           1




     CENTER FOR DISABILITY ACCESS
     Amanda Seabock, Esq., SEN 289900
 2   Prathima Price, Esq., SEN 321378
     Dennis Price, Esq., SEN 2 79082
 3   8033 Linda Vista Road, Suite 200
     San Die,o, CA 92111
 4   (858) 3 5-7385; (888) 422-5191 fax
     amandas@potterhandy.com
 5
     Attorneys for Plaintiff, SCOTT JOHNSON
 6

 7

 8                            UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA

10   BRIANWHITAKER,                                  Case No.: 4:21-cv-8767-KAW

11        Plaintiff,
                                                     NOTICE OF SETTLEMENT
12
     v.
     MARIN CITY SUBWAY, LLC, a California
13   Limited Liability Company,
14            Defendants,
15

16          The plaintiff hereby notifies the court that a partial settlement has been reached
17   in the above-captioned case as to damages only. The case will proceed via noticed
18   motion as to attorney fees/costs.       The parties would like to avoid any additional
19   expense, and further the interests of judicial economy.
20          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
21   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
22   parties will be filed after the motion for fees/ costs is heard and settlement is funded.
23                                     CENTER FOR DISABILITY ACCESS

24

25   Dated: March 04,2022              Isl Amanda Sea bock
26
                                       Amanda Seabock
                                       Attorney for Plaintiff
27

28


     Notice of Settlement                        4:21-cv-8767-KAW
          Case 4:21-cv-08767-KAW
          Case 4:21-cv-08767-KAW Document
                                 Document 16
                                          14-1Filed
                                                 Filed 03/04/22Page
                                                     03/09/22    Page
                                                                    201ofot25
                                                                            1



 1

 2
 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 9
                                                   Case No.: 4:21-cv-8767-KAW
10   BRIANWHITAKER,
11           Plaintiff,                            ORDER
12   v.
13   MARIN CITY SUBWAY, LLC, a California
     Limited Liability Company,
14
              Defendants.
15

16

17                                           ORDER
18

19          The Court hereby vacates all currently set dates, with the expectation that the
20   parties will file a motion for determination of attorney fees/costs, and file a dismissal

21   thereafter.
22
23   ITISSOORDERED.
24

25   Dated: - - - - -
                                     HONORABLE KANDIS A. WESTMORE
26                                   United States Magistrate Judge
27

28



     Notice of Settlement            -1-                4 :21-cv-8767-KAW
         Case 4:21-cv-08767-KAW
         Case 4:21-cv-08767-KAW Document
                                Document 16
                                         14-2Filed
                                                Filed 03/04/22Page
                                                    03/09/22    Page
                                                                   211ofot25
                                                                           1

1

2
                                      PROOF OF SERVICE
3                            Whitaker v. Marin City Subway, LLC
                                CASE :4:21-cv-8767-KAW
4

5    I, the undersigned, am over the age of eighteen years. I am not a party to the above-
     entitled action; my business address is 80 3 3 Linda Vista Road, Suite 2 00
6    San Diego, CA 92111
7
          On March 4, 2022 I served the following document(s):
8          - NOTICE OF SETTLEMENT
           - ORDER
9

10   Addressed to:
      Marc A. Collins/ Azim Khanmohamed
11
      Collins & Khan LLP
12    3435 Wilshire Blvd., Suite 2600
      Los Angeles, CA 90010-2246
13
     D      BY MAIL: I caused such envelope with postage thereon fully prepaid to be
14
            placed in the United States mail at San Diego, California.
15   D      BY FACSIMILE: In addition to the service by mail as set forth above, I
            forwarded a copy of said documents via facsimile to the listed facsimile number.
16
     D      BY OVERNITE EXPRESS: I caused such envelope with postage thereon fully
17          prepaid to be placed in the Designated Overnite Express drop box at San Diego,
            California.
18   D     BY PERSONAL SERVICE: I caused said documents to be personally served on all
19          listed recipients via Diversified Legal Services.
     0    BY ELECTRONIC MAIL TRANSMISSION: via email. I caused the listed
20          documents to be electronically filed and subsequently emailed to the
            recipient(s).
21
            Executed on March 4, 2022, from San Diego, California.
22
     I declare under penalty of perjury under the laws of the State of California that the
23
     above is true and correct.
24

25
                                                               Vanessa Pereira
26

27

28   PROOF OF SERVICE
Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 22 of 25




                          EXHIBIT 5
                   Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 23 of 25

 Marc Collins

From:                                    Azim Khanmohamed
Sent:                                    Friday, March 4, 2022 3:58 PM
To:                                      'Robert Gipson'; Marc Collins; Sabrina Saleh; 'Amanda Seabock'
Cc:                                      'whitakervsubwayz9998741@projects.filevine.com'
Subject:                                 RE: Whitaker v. Marin City Subway, LLC (4:21-cv-8767-KAW)



Robert:

We checked the docket, however, it does not appear that you have filed the Rule 68 offer.
Please advise, thank you.

Azim Khanmohamed          I Attorney at Law



Collins & Khan
         t.lf:'




3435 Wilshire Blvd., Ste. 2600, Los Angeles, CA 90010
D: (323) 549-9075 I M: (323) 549-0700 I E: akhan@colHnskhan.com

The infonnation contained in this email may be confidential and/or legally privileged. It has been sent for the sole use of the
intended recipient(s). !f the reader of this message is not an intended recipient, you are hereby notified that any unauthorized
review, use, disclosure, dissemination, distribution, or copying of this communication, or any of its contents, is strictly prohibited. If
you have received this communication in error, please reply to the sender and destroy aH copies of the message.


From: Robert Gipson [mailto:robertg@potterhandy.com]
Sent: Friday, March 4, 2022 11:19 AM
To: Marc Collins <rnco!lins@collinskhan.com>; Azim Khanmohamed <akhan@collinskhan.com>
Cc: whitakervsubwayz9998741@projects.fi!evine.corn
Subject: Whitaker v. Marin City Subway, LLC (4:21-cv-8767-KAW)

Hello,



Please find attached the documents from the attorney, please be advised a hard copy will follow via regular mail. Thank
you.



Best Regards,




                                                                    1
                   Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 24 of 25

 Marc Collins

From:                                    Azim Khanmohamed
Sent:                                    Tuesday, March 8, 2022 5:10 PM
To:                                      'Robert Gipson'; Marc Collins; Sabrina Saleh; 'Amanda Seabock'
Cc:                                      'whitakervsubwayz9998741@projects.filevine.com'
Subject:                                 RE: Whitaker v. Marin City Subway, LLC (4:21-cv-8767-KAW)

Importance:                              High



Amanda:

We received an e-mail indicating that your office had accepted the Rule 68 offer, however, it has not been filed. Can you
please advise, thank you.

Azim Khanmohamed          I Attorney at Law



CollinslU'& Khan

3435 Wilshire Blvd., Ste. 2600, Los Angeles, CA 90010
D: (323) 549-9075 I M: (323) 549-0700 I E: akhan@collinskhan.com

The information contained in this email may be confidential and/or legally privileged. It has been sent for the sole use of the
intended recipient(s), If the reader of this message is not an intended recipient, you are hereby notified that any unauthorized
review, use, disclosure, dissemination, distribution, or copying of this communication, or any of its contents, is strictly prohibited. if
you have received this communication in error, please reply to the sender and destroy a!! copies of the message,


From: Azim Khanmohamed
Sent: Monday, March 7, 2022 9:25 AM
To: 'Robert Gipson' <robertg@potterhandy.com>; Marc Collins <mcollins@collinskhan.com>; Sabrina Saleh
<ssaleh@collinskhan.com>; 'Amanda Seabock' <amandas@potterhandy.com>
Cc: 'whitakervsubwayz9998741@projects.filevine.com' <whitakervsubwayz9998741@projects.filevine.com>
Subject: RE: Whitaker v. Marin City Subway, LLC (4:21-cv-8767-KAW)

Robert:

We checked the docket, however, it does not appear that you have filed the Rule 68 offer.
Please advise, thank you.

Azim Khanmohamed         I Attorney at Law
                          Case 4:21-cv-08767-KAW Document 16 Filed 03/09/22 Page 25 of 25



                    1
                                                        PROOF OF SERVICE
                    2                           WHITAKER V. MARIN CITY SUBWAY, LLC
                                                        4:21-cv-08767-KAW
                    3
                               I, the undersigned, am over the age of eighteen years and am resident of Los Angeles County,
                    4 California; I am not a party to the above-entitled action; my business address is 3435 Wilshire Blvd.,
                        Ste. 2600, Los Angeles, CA 90010.
                    5
                    6          On March 9l 2022, I served the following document(s):

                    7        DECLARATION OF AZIM KHANMOHAMED RE TERMS OF SETTLEMENT
                        PURSUANT TO RULE 68 OFFER OF JUDGMENT
                    8
                    9          Addressed to:

                   10    Amanda Seabock, Esq.                                Attorneys for Plaintiff
                         Russell Handy, Esq.                                 Tel: (858)375-7385
                   11    Potter Handy, LLP                                   Email: amandas@potterhandy.com
                         8033 Linda Vista Road, Suite 200
                   12    San Diego, CA 92111
                   13
                   14
                   15 _____ BY MAIL: I caused such envelope with postage thereon fully prepaid to be placed in the
                        United States mail at Los Angeles, California.
                   16
                   17 _____ BY FACSIMILE: In addition to the service by mail as set forth above, I forwarded a copy
                        of said documents via facsimile to the listed facsimile number.
                   18
                        _____ BY OVERNIGHT EXPRESS: I caused such envelope with postage thereon fully prepaid to
                   19 be placed in the Designated Overnight Express drop box in Los Angeles, California.
                   20
                      _____ BY PERSONAL SERVICE: I caused said documents to be personally served on all listed
                   21 recipients Via ASAP Legal Services.
                   22 ____X ___ BY ELECTRONIC MAIL TRANSMISSION: via email. I caused the listed documents
                        to be electronically filed and or subsequently emailed to the above recipients.
                   23
                               Executed on March 9, 2022, from Los Angeles, California.
                   24
                   25          I declare under penalty of perjury under the laws of the State of California that the above is
                        true and correct.
                   26
                                                        _____________________________
                   27                                            Sabrina Saleh
                   28
                                                                         3
      !C:
Collin~,'}< Khan
                                        DECLARATION OF AZIM KHANMOHAMED RE TERMS OF
                                       SETTLEMENT PURSUANT TO RULE 68 OFFER OF JUDGMENT
